        Case 3:21-cv-02450-WHO Document 267-1 Filed 05/12/22 Page 1 of 2


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                              UNITED STATES DISTRICT COURT
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                           NORTHERN DISTRICT OF CALIFORNIA
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                                   SAN FRANCISCO DIVISION
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     WISK AERO LLC,                           CASE NO. 3:21-CV-02450-WHO
12
                      Plaintiff,              [PROPOSED] ORDER GRANTING
13                                            SEALING REQUEST
          v.
14
     ARCHER AVIATION INC.,
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                      Defendant.
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         Case 3:21-cv-02450-WHO Document 267-1 Filed 05/12/22 Page 2 of 2


1           Before the Court is Wisk Aero LLC’s Administrative Motion to Consider Whether Archer’s

2    Material Should Be Sealed (Dkt. 262) and Archer’s Civil Local Rule 79-5(f)(3) declaration in support

3    thereof. Hines Decl. Having considered the papers, the Court finds good cause or compelling

4    reasons to seal the documents, or portions thereof, and orders as follows:

5
             Document            Portions to           Basis for Sealing                  Result
6
                                  Be Sealed
7       Ex. D to the Decl. of   Entire           Information designated
        Jake Todd               document         highly confidential by Archer
8       (Dkt. 260-5)                             and a third party,
                                                 MAGicALL, Inc., and
9                                                subject to a pending motion
                                                 to seal.
10
        Ex. 2 to Decl. of       Green            Information designated
11      Diederik Marius         highlighted      highly confidential by Archer
        (Dkt. 260-18 at         portion          and subject to a pending
12      p. 37)                                   motion to seal.
13
            IT IS SO ORDERED.
14
     DATED: ________________
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                                                                  Hon. William H. Orrick
17                                                                United States District Judge
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